UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ELIZABETH CHAN, et al.,                          12/13/2024

                      Plaintiffs,

           -v-                      23-cv-10365 (LJL)
                                    24-cv-01644 (LJL)
UNITED STATES DEPARTMENT OF         24-cv-00367 (LJL)
TRANSPORTATION, et al.,             24-cv-04111 (LJL)

                      Defendants.            ORDER

MICHAEL MULGREW, et al.,

                      Plaintiffs,

           -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                      Defendants.

NEW YORKERS AGAINST CONGESTION
PRICING TAX, et al.,

                      Plaintiffs,

           -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                      Defendants.

TRUCKING ASSOCIATION OF NEW YORK,

                      Plaintiff,

           -v-

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,
                   Defendants.
LEWIS J. LIMAN, United States District Judge:

        A preliminary injunction hearing is scheduled in the above-captioned cases for December

20, 2024, at 2:00 PM in Courtroom 15C, 500 Pearl Street, New York, NY 10007.

        At that hearing, Plaintiffs will have seventy-five minutes to present, of which they may

reserve up to twenty minutes for rebuttal. Plaintiffs shall meet and confer with respect to how

they intend to allocate that time across all Plaintiffs in the four cases.

         Defendants will have seventy-five minutes to present. Defendants shall meet and confer

with respect to how they intend to allocate that time across all Defendants in the four cases.

        The parties shall be prepared to inform the Court at the start of the hearing what internal

time allocations they have agreed upon.


        SO ORDERED.


Dated: December 13, 2024                               __________________________________
       New York, New York                                         LEWIS J. LIMAN
                                                              United States District Judge




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